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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
 HEADWATER RESEARCH LLC,

                Plaintiff,

 v.
                                                        Case No. 2:23-cv-00641-JRG-RSP
 SAMSUNG ELECTRONICS CO., LTD. and                       JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS AMERICA,
 INC.,

                Defendants.

          JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

       Pursuant to Local Patent Rule 4-3, and the Court’s Docket Control Order (Dkt. 41),

Plaintiff Headwater Research, LLC (“Headwater”) and Defendants Samsung Electronics Co. Ltd.

and Samsung Electronics America, Inc’s. (“Samsung”) (collectively, “Parties”) respectfully

submit the following Joint Claim Construction and Prehearing Statement.

  I.   AGREED CLAIM CONSTRUCTIONS (P.R. 4-3(a)(1))

       The Parties have not agreed to any claim constructions.

 II.   DISPUTED CLAIM CONSTRUCTIONS (P.R. 4-3(a)(2))

       The Parties’ proposed constructions of disputed terms are provided in the chart below. The

Parties’ proposed constructions are also set forth in the accompanying Exhibit A, along with the

intrinsic and extrinsic evidence on which the parties intend to rely. The extrinsic evidence on which

Samsung may rely is attached as Exhibit B.




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        A.     U.S. Patent No. 8,588,110

 Term                                           Headwater’s Proposed      Samsung’s Proposed
                     Claim Term
   #                                                Construction             Construction

   1     low-level policy agents               Not indefinite; plain   Indefinite
                                               and ordinary meaning
         (Claims 12, 13)

  2      low-level policy rule                 Not indefinite; plain   Indefinite
                                               and ordinary meaning
         (Claim 12)

  3      first service activity is non-        Not indefinite; plain   Indefinite
         critical                              and ordinary meaning

         (Claim 9)

  4      means for obtaining, through a        Plain and ordinary      Pursuant to § 112(6):
         user interface of the wireless        meaning
         device, a user input specifying                               Function: obtaining,
         at least an aspect of a first                                 through a user interface of
         service policy                                                the wireless device, a user
                                                                       input specifying at least an
         (Claim 26)                                                    aspect of a first service
                                                                       policy

                                                                       Structure: a user interface
                                                                       and a processor configured
                                                                       to perform the algorithm
                                                                       steps of providing the user
                                                                       with information and
                                                                       accepting user choices or
                                                                       preferences on, e.g.,
                                                                       service plan selection or
                                                                       change, and/or other
                                                                       service related information,
                                                                       settings, and/or options

  5      means for identifying that the        Plain and ordinary      Pursuant to § 112(6):
         wireless device is connected to       meaning
         the first wireless network                                    Function: identifying that
                                                                       the wireless device is
         (Claim 26)                                                    connected to the first
                                                                       wireless network




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 Term                                        Headwater’s Proposed      Samsung’s Proposed
                  Claim Term
   #                                             Construction             Construction

                                                                    Structure: a processor
                                                                    configured to perform the
                                                                    algorithm steps of
                                                                    recognizing the type of
                                                                    network to which the
                                                                    device is currently
                                                                    connecting, e.g., by
                                                                    looking up the information
                                                                    in a local or network table

  6     means for identifying an            Plain and ordinary      Pursuant to § 112(6):
        intended, attempted, or             meaning
        successful data communication                               Function: identifying an
        over the first wireless network,                            intended, attempted, or
        the intended, attempted, or                                 successful data
        successful data communication                               communication over the
        being associated with the first                             first wireless network, the
        service activity                                            intended, attempted, or
                                                                    successful data
        (Claim 26)                                                  communication being
                                                                    associated with the first
                                                                    service activity

                                                                    Structure: a processor
                                                                    configured to perform the
                                                                    algorithm steps of
                                                                    implementing traffic
                                                                    inspection points between
                                                                    the applications and the
                                                                    networking stack
                                                                    application interface using
                                                                    a T-buffer at socket
                                                                    connections and feeding
                                                                    the side traffic into a traffic
                                                                    flow analyzer

  7     means for applying the first        Plain and ordinary      Pursuant to § 112(6):
        service policy                      meaning
                                                                    Function: applying the first
        (Claim 26)                                                  service policy

                                                                    Structure: a processor
                                                                    configured to perform the



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  Term                                         Headwater’s Proposed          Samsung’s Proposed
                     Claim Term
    #                                              Construction                 Construction

                                                                          algorithm steps of
                                                                          performing a service
                                                                          control that reduces traffic
                                                                          speed for all applications
                                                                          and traffic types
                                                                          successively until the
                                                                          service usage projections
                                                                          are within service usage
                                                                          limits for the present
                                                                          service billing period



         B.     U.S. Patent No. 9,647,918

  Term                                          Headwater’s Proposed           Samsung’s Proposed
                     Claim Term
    #                                               Construction                  Construction

   8      the calling device application      Not indefinite; plain and      Indefinite
                                              ordinary meaning
          (Claims 1, 14)



 III.    ANTICIPATED LENGTH OF TIME NEEDED FOR THE CLAIM
         CONSTRUCTION HEARING (P.R. 4-3(a)(3))

         The parties estimate that two hours will be needed for the claim construction hearing. The

parties agree that each side will be allocated half of the total time permitted for the hearing.

 IV.     PROPOSED WITNESSES TO BE USED AT THE CLAIM CONSTRUCTION
         HEARING (P.R. 4-3(a)(4))

         No party proposes to call witnesses at the claim construction hearing.

  V.     OTHER ISSUES TO BE ADDRESSED PRIOR TO CLAIM CONSTRUCTION
         HEARING (P.R. 4-3(a)(5))

         The parties are not currently aware of any issues that they would propose taking up at a

prehearing conference prior to the claim construction hearing.




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 Dated: January 10, 2025

 /s/ Marc Fenster                      /s/ Sara C. Fish

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                                CERTIFICATE OF SERVICE

       I certify that all counsel of record who are deemed to have consented to electronic service

are being served with a copy of this document via the Court’s CM/ECF system.

                                                     /s/ Marc Fenster
                                                     Marc Fenster
                                                     Attorney for Plaintiff
                                                     Headwater Research LLC




                             CERTIFICATE OF CONFERENCE

       I certify that that counsel complied with the requirements of Eastern District of Texas

Local Rule CV-7(h). The parties agree on filing this joint statement.

                                                     /s/ Marc Fenster
                                                     Marc Fenster
                                                     Attorney for Plaintiff
                                                     Headwater Research LLC
